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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                    Chapter 11 Case

LEHMAN BROTHERS HOLDINGS INC., et al.,                    Case No. 08-13555 (SCC)

                                                          (Jointly Administered)
                 Debtors.


LEHMAN BROTHERS HOLDINGS INC., in its
capacity as Plan Administrator on behalf of Lehman        Adv. Proc. No. 15-01430 (SCC)
Brothers Special Financing Inc.

                 Plaintiff,

     -against-

ACTS RETIREMENT-LIFE COMMUNITIES,
INC.,

                 Defendant.


                  STIPULATED JOINT PRETRIAL SCHEDULING ORDER

                 WHEREAS, on December 23, 2015, plaintiff Lehman Brothers Holdings Inc.,

(“LBHI”), in its capacity as Plan Administrator under the Modified Third Amended Joint

Chapter 11 Plan of Lehman Brothers Holdings Inc. and its Affiliated Debtors, and on behalf of

Lehman Brothers Special Financing Inc. (“LBSF”), commenced the above-captioned adversary

proceeding against ACTS Retirement-Life Communities, Inc. (“ACTS,” and together with LBHI

and LBSF, the “Parties”) by filing an adversary complaint (the “Complaint”);

                 WHEREAS, ACTS filed an Answer to the Complaint on February 8, 2016; and

                 WHEREAS, the Parties have met and conferred and have mutually agreed to the

terms and deadlines set forth herein that will govern certain of the pretrial proceedings in this

action.
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               NOW, THEREFORE, the Parties hereby stipulate and agree, subject to Court

approval, that the following terms and deadlines set forth in this Stipulated Joint Pretrial

Scheduling Order shall apply in the above-captioned adversary proceeding.

               1.       All fact discovery shall be completed by November 17, 2016.


               2.       The Parties are to conduct discovery in accordance with the Federal Rules

of Bankruptcy Procedure, the Federal Rules of Civil Procedure (as incorporated therein), and the

Local Bankruptcy Rules of this Court. In accordance with Federal Rules of Bankruptcy

Procedure 7026-7037, Federal Rules of Civil Procedure 26-37 shall apply in their entirety to this

proceeding. A party may be served with discovery requests and responses by email to its

respective undersigned counsel. The following interim deadlines with respect to fact discovery

may be extended by the written consent of the Parties without application to the Court, provided

all fact discovery is completed by November 17, 2016.


                        A.   The Parties shall meet and confer on or before April 14, 2016 with

respect to the terms and conditions of a form of protective order for presentment to the Court (the

“Protective Order”). The Protective Order may contain provisions relating to the inadvertent

production of privileged documents, confidentiality, the form and manner of producing ESI and

other matters agreed to by the Parties. To the extent the Parties agree on the form of Protective

Order, the Parties will submit such order to the Court for approval on or before May 5, 2016. If

the Parties are unable to reach an agreement on the form of a Protective Order, either Party may

seek relief from the Court as such Party deems appropriate.


                        B.   The Parties shall serve initial disclosures pursuant to Rule 26(a)(1)

of the Federal Rules of Civil Procedure on or before April 14, 2016.



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                       C.   Initial requests for the production of documents shall be served on

each party no later than April 28, 2016.


                       D.   Responses and objections to requests for the production of

documents are to be served within 30 days of the service of each request or set of requests for the

production of documents.


                       E.   Interrogatories pursuant to Local Bankruptcy Rule 7033-1(a) may be

served no later than April 28, 2016.


                       F.   The Parties will exchange initial proposed search terms, custodians

and date ranges for the collection of electronically stored information (“ESI”) by May 31, 2016.

The Parties will confer and attempt to resolve any disputes regarding the proposed search terms

by June 7, 2016. Nothing herein shall prevent either party from requesting additional searches

after review of the other party’s production.


                       G.   Initial document productions shall commence on a rolling basis no

later than June 16, 2016. Document production shall be substantially completed by August 5,

2016.


                       H.   Productions of ESI may be transmitted electronically via Secure File

Transfer Protocol (SFTP), FTP over SSH, or physically transported using electronic storage

media such as flash memory devices, CDs, DVDs or hard drives. The physical media label

should contain the case name and number, production date, and Bates range being produced.

Each party may encrypt any data produced using standard encryption software.


                       I.   Privilege logs shall be served within 30 days of the production from



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which the logged documents have been withheld or redacted.


                        J.   Depositions of fact witnesses may take place no earlier than August

8, 2016, and must be completed by November 17, 2016.


                        K.   Discovery from third parties (other than testifying experts) may be

sought at any time up to thirty days prior to the close of fact discovery, but must be completed by

November 17, 2016.


                        L.   Interrogatories pursuant to Local Bankruptcy Rule 7033-1(b) and (c)

and requests for admissions shall be served at least 30 days prior to the close of fact discovery.


               3.       The Parties shall disclose the identities of any testifying expert witnesses

and serve any expert reports pursuant to Federal Rule of Civil Procedure 26(a)(2)(B) and (C) as

made applicable by Bankruptcy Rule 7026 on any issue(s) as to which that Party bears the

burden of proof by December 8, 2016.


               4.       The Parties shall identify any rebuttal expert witness and serve the related

rebuttal expert reports or disclosures required by Federal Rule 26(a)(2)(B) and (C) by January

19, 2017.


               5.       Depositions of expert witnesses must be completed by January 26, 2017.


               6.       As required by applicable rules, if a Party wishes to file a dispositive

motion, that Party shall request a pre-motion conference with respect to such motion by February

2, 2017. Absent further direction of the Court at a pre-motion conference or otherwise, any

dispositive motions must be filed by March 16, 2017. The Parties will consult with each other




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regarding the briefing schedule for any dispositive motions prior to any pre-motion conference.


               7.        At a date and time set at the Court’s convenience after the discovery of

expert witnesses is completed, the Parties shall attend a status conference before the Court to

discuss issues related to dispositive motions and trial.


               8.        The trial shall be held at a date to be determined by the Court.


               9.        By entering into this stipulation, the Parties do not waive any procedural

or substantive rights.


Dated this 29th day of March, 2016

PAUL HASTINGS LLP                                  DRINKER BIDDLE & REATH LLP

By:    /s/ Joshua M. Bennett                       By:     /s/ Richard J.L. Lomuscio
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      Attorneys for Plaintiff                              Attorneys for Defendant



IT IS SO-ORDERED:
March 29, 2016
New York, New York

/S/ Shelley C. Chapman
HONORABLE SHELLEY C. CHAPMAN
UNITED STATES BANKRUPTCY JUDGE




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